                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

                                                     No. 3:06-CR-74-4-BR

UNITED STATES OF AMERICA,                            )
                                                     )
               v.                                    )              ORDER
                                                     )
                                                     )
                                                     )
VERNICE CHAITAN WOLTZ                                )



       This matter is before the court on defendant’s motion to adopt relevant motions of co-

defendants. Defendant does not identify which motions of any co-defendant she wishes to adopt.

Now that the co-defendants’ deadline for filing motions has passed, and to aid the court, defendant

should identify with specificity which motions, if any, she adopts. The motion to adopt relevant

motions of co-defendants is DENIED WITHOUT PREJUDICE.

       This 19 January 2007.




                                             __________________________________
                                                   W. Earl Britt
                                                   Senior U.S. District Judge




      Case 3:06-cr-00074-WEB           Document 154        Filed 01/19/07      Page 1 of 1
